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                                                                            Honorable Thomas S. Zilly




                                        UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE

  COOK PRODUCTIONS, LLC,                                 Civil Action No. 16-cv-1884TSZ

                                     Plaintiff,          NOTICE OF UNAVAILABILITY

               v.

  THOMAS SWANICKE, an individual;
  SHANNON REYNOLDS, an individual;
  SAMANTHA WIERZYKAI, an individual;
  FRANKLIN COBB, an individual;
  YOOKYNG PAK, an individual; and
  TYREE SMITH, an individual,

                                     Defendants.

             Please take notice that David A. Lowe, attorney for Plaintiff, will be unavailable from

February 16, 2018 to February 26, 2018, and respectfully requests that no pleadings or motions be

filed or other matters be scheduled during this time period.


RESPECTFULLY SUBMITTED February 16, 2018.

                                                      s/David A. Lowe, WSBA No. 24,453
                                                       Lowe@LoweGrahamJones.com
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                                           CERTIFICATE OF SERVICE

                          The undersigned hereby certifies that a true and correct copy of the
                          foregoing document has been served to all counsel or parties of
                          record who are deemed to have consented to electronic service via
                          the Court’s CM/ECF system, as well as the following addressed as
                          follows:
                                                Thomas Swanicke
                                                8203 86th Ave NE
                                                Marysville, WA 98270

                                                Shannon Reynolds
                                                7920 48th Ave SE
                                                Olympia, WA 98503

                                                Yookyng Pak
                                                1830 S. 336th St., Apt. #G102
                                                Federal Way, WA 98003


                                                                            s/ David A. Lowe




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